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G R E G O R Y D. M I L L E R                                         11/09/2020                       Hackensack, N J 07601-7082
                                                                                                      T 201.287.2460 F 201.489.0 495
PARTNER
(201) 287 -2474
gregory.miller@rivkin.com                                               It is hereby ORDERED that Plaintiff's request is
                                                                        GRANTED. The parties shall have until November 13,
                                                                        2020 to submit the proposed redactions pursuant to the
                                                       November 9, 2020 Court's October 26, 2020 Order.
VIA ECF
The Honorable John P. Cronan, U.S.D.J.                                             SO ORDERED.
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Courtroom 20C                                                    Date:       November 9, 2020
New York, NY 10007-1312                                                                        New York, New York

          Re: InspiRx Inc. v. Lupin Atlantis Holdings SA
              Civil Action No. 1:20-cv-03214-JPC
                                                                                                                       _______________________
Dear Judge Cronan:                                                                                                     JOHN P. CRONAN
                                                                                                                       United States District Judge
       Pursuant to Rule 3.B of Your Honor’s Individual Rules and Practices in Civil Cases, we
write to request a four-day extension of time to comply with the Court’s October 26 Order
regarding the submission of proposed redactions to previously filed documents.

        We are continuing to prepare proposed redactions for the voluminous summary judgment
filings and are near completion of that task. Additional time, however, would be helpful to
complete the remaining redactions, ensure their accuracy, and confer with Defendant’s counsel
regarding the final submission. We therefore request an extension of four days—i.e., through
Friday, November 13, 2020—to file our submission.

           We have conferred with Defendant’s counsel and Defendant does not oppose this request.

           We appreciate your attention to this matter.

                                                                 Respectfully submitted,

                                                                 RIVKIN RADLER LLP

                                                                 s/ Gregory D. Miller

                                                                 Gregory D. Miller

cc: All counsel of record via ECF




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 Albany, NY 12203                New York, NY 10022-5843              Poughkeepsie, NY 12601-6843           Uniondale, NY 11556-0926
 T 518.462.3000 F 518.462.4199   T 212.455.9555 F 212.687.9044        T 845.473.8100 F 845.473.8777         T 516.357.3000 F 516.357.3333
